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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                       )
In re:                                                                 )    Chapter 11
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                                   )    Case No. 19-34054 (SGJ)
                                                                       )
                             Reorganized Debtor.                       )
                                                                       )
                                                                       )
HIGHLAND CAPITAL MANAGEMENT, L.P.                                      )
                                                                       )
                              Plaintiff,                               )    Adv. Pro. No. 20-03107 (SGJ)
vs.                                                                    )
                                                                       )
PATRICK HAGAMAN DAUGHERTY                                              )
                                                                       )
                              Defendant.                               )
                                                                       )


                                      CERTIFICATE OF SERVICE

       I, Esmeralda Aguayo, depose and say that I am employed by Kurtzman Carson
Consultants LLC (“KCC”), the claims and noticing agent for the Reorganized Debtor in the
above-captioned case.

        On October 27, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached
hereto as Exhibit C and Exhibit D:

      •   Notice of Case Status [Docket No. 16]


Dated: November 1, 2021
                                                          /s/ Esmeralda Aguayo
                                                          Esmeralda Aguayo
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245

1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and
service address for the above-captioned Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.
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                             EXHIBIT A
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                                                               Exhibit A
                                                         Adversary Service List
                                                        Served via Electronic Mail


            Description                    CreditorName                CreditorNoticeName                       Email
Counsel for Patrick Daugherty (“Mr.
Daugherty”)                         Cross & Simon LLC             Michael L. Vild, Esquire      mvild@crosslaw.com
Financial Advisor to Official                                     Earnestiena Cheng, Daniel H   Earnestiena.Cheng@fticonsulting.com;
Committee of Unsecured Creditors FTI Consulting                   O'Brien                       Daniel.H.O'Brien@fticonsulting.com
                                                                  Melissa S. Hayward, Zachery   MHayward@HaywardFirm.com;
Counsel for the Debtor              Hayward & Associates PLLC     Z. Annable                    ZAnnable@HaywardFirm.com
                                                                                                andrew.clubok@lw.com;
Counsel for UBS Securities LLC                                    Andrew Clubok, Sarah          sarah.tomkowiak@lw.com;
and UBS AG London Branch            Latham & Watkins LLP          Tomkowiak, Jason Burt         jason.burt@lw.com
Counsel for UBS Securities LLC                                    Asif Attarwala, Kathryn K.    asif.attarwala@lw.com;
and UBS AG London Branch            Latham & Watkins LLP          George                        Kathryn.George@lw.com
Counsel for UBS Securities LLC                                    Jeffrey E. Bjork, Kimberly A. jeff.bjork@lw.com;
and UBS AG London Branch            Latham & Watkins LLP          Posin                         kim.posin@lw.com
Counsel for UBS Securities LLC                                                                  Zachary.Proulx@lw.com;
and UBS AG London Branch            Latham & Watkins LLP          Zachary F. Proulx, Jamie Wine Jamie.Wine@lw.com
                                                                                                mclemente@sidley.com;
                                                                  Matthew Clemente, Alyssa      alyssa.russell@sidley.com;
Counsel for Official Committee of                                 Russell, Elliot A. Bromagen,  ebromagen@sidley.com;
Unsecured Creditors                 Sidley Austin LLP             Dennis M. Twomey              dtwomey@sidley.com
                                                                                                preid@sidley.com;
                                                                  Penny P. Reid, Paige Holden pmontgomery@sidley.com;
Counsel for Official Committee of                                 Montgomery, Juliana Hoffman, jhoffman@sidley.com;
Unsecured Creditors                 Sidley Austin LLP             Chandler M. Rognes            crognes@sidley.com
Counsel for Patrick Daugherty       Spencer Fane LLP              Jason P. Kathman              jkathman@spencerfane.com




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                             EXHIBIT B
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                                                  Exhibit B
                                               Affected Parties
                                           Served via Electronic Mail

              Description             CreditorName      CreditorNoticeName               Email
     Counsel for Patrick Daugherty
     (“Mr. Daugherty”)             Cross & Simon LLC   Michael L. Vild, Esquire mvild@crosslaw.com
     Counsel for Patrick Daugherty Spencer Fane LLP    Jason P. Kathman         jkathman@spencerfane.com




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                             EXHIBIT C
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                                                                         Exhibit C
                                                                   Adversary Service List
                                                                 Served via First Class Mail

                   Description                CreditorName           CreditorNoticeName               Address1               City     State    Zip
         Counsel for Patrick Daugherty                                                        1105 N. Market Street,
         (“Mr. Daugherty”)                Cross & Simon LLC        Michael L. Vild, Esquire Suite 901                    Wilmington   DE      19801
         Counsel for UBS Securities LLC                            Andrew Clubok, Sarah       555 Eleventh Street, NW,
         and UBS AG London Branch         Latham & Watkins LLP     Tomkowiak, Jason Burt Suite 1000                      Washington DC        20004
         Counsel for UBS Securities LLC                            Asif Attarwala, Kathryn K. 330 North Wabash
         and UBS AG London Branch         Latham & Watkins LLP     George                     Avenue, Ste. 2800          Chicago      IL      60611
         Counsel for UBS Securities LLC                            Jeffrey E. Bjork, Kimberly 355 S. Grand Ave., Ste.
         and UBS AG London Branch         Latham & Watkins LLP     A. Posin                   100                        Los Angeles CA       90071
         Counsel for UBS Securities LLC                            Zachary F. Proulx, Jamie 1271 Avenue of the
         and UBS AG London Branch         Latham & Watkins LLP     Wine                       Americas                   New York     NY      10020
                                                                                              5700 Granite Parkway,
         Counsel for Patrick Daugherty    Spencer Fane LLP         Jason P. Kathman           Suite 650                  Plano        TX      75024




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                             EXHIBIT D
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                                                                         Exhibit D
                                                                      Affected Parties
                                                                 Served via First Class Mail

                      Description              CreditorName         CreditorNoticeName                Address1            City   State Zip
             Counsel for Patrick Daugherty                                                     1105 N. Market Street,
             (“Mr. Daugherty”)               Cross & Simon LLC    Michael L. Vild, Esquire     Suite 901              Wilmington DE   19801
                                                                                               5700 Granite Parkway,
             Counsel for Patrick Daugherty   Spencer Fane LLP     Jason P. Kathman             Suite 650              Plano      TX   75024




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